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   6
       Attorneys for Defendant
   7 POWERLINE FUNDING LLC

   8
                     IN THE UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                          SOUTHERN DIVISION

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly       Case No. 8:19-cv-00098
       situated,
  13                                         NOTICE OF LODGING OF
  14               Plaintiff,                [PROPOSED] ORDER ON
                                             DEFENDANT POWERLINE
  15         vs.                             FUNDING LLC’S MOTION TO
  16                                         DISMISS THE CLAIMS OF ALL
       POWERLINE FUNDING LLC, a New          PUTATIVE NON-CALIFORNIA
  17 York limited liability company,         CLASS MEMBERS OR, IN THE
  18                                         ALTERNATIVE, TO STRIKE
                   Defendants.               PLAINTIFF’S CLASS
  19                                         ALLEGATIONS
  20
                                             Date:       June 7, 2019
  21                                         Time:       10:30 a.m.
  22                                         Judge:      Hon. Josephine L. Staton
                                             Location:   Courtroom 10A
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                                                                      NOTICE OF LODGING
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   1                                 NOTICE OF LODGING
   2         PLEASE TAKE NOTICE that Defendant Powerline Funding LLC hereby
   3
       lodges the attached [Proposed] Order on Defendant Powerline Funding LLC’s
   4
       Motion to Dismiss the Claims of All Putative Non-California Class Members Or, in
   5

   6
       the Alternative, to Strike Plaintiff’s Class Allegations.

   7                                           Respectfully submitted,
   8
        Dated: May 24, 2019                     Defendant Powerline Funding LLC
   9
                                                By: /s/ Alan M. Ritchie
  10
                                                       One of its Attorneys
  11
                                                Alan M. Ritchie (298989)
  12
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   1                             CERTIFICATE OF SERVICE
   2         Alan M. Ritchie, an attorney, certifies that on May 24, 2019, he electronically
   3
       filed the foregoing document with the Clerk of the Court by using the CM/ECF
   4
       system, which will send a notice of electronic filing to all attorneys of record.
   5

   6                                                   /s/ Alan M. Ritchie
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                                                                              NOTICE OF LODGING
